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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

IN RE:                                             )
                                                   )
                                                   )
ART MIDWEST, INC.                                  )
                                                   )      CASE NO. 04-91225-RFN-11
         Debtor                                    )
                                                   )
                                                   )

                   Motions for a New Trial and Request to Amend Findings
                          And to Enter Additional Findings of Fact

         COMES NOW the Debtor ART Midwest, Inc. and pursuant to Rule 9023 files this its Motion for

a New Trial and pursuant to Rules 9014 and 7052 files this its Request to Amend Findings and for

Additional Findings with regard to: 1. Atlantic Parties’ Motion to Dismiss Chapter 11 Case As A Bad

Faith Filing; 2. Debtor’s Objection to Claims of Atlantic XIII, LLC, Atlantic Midwest, LLC, David M.

Clapper, Atlantic Limited Partnership XIII, Regional Properties, Limited Partnership and Atlantic

XXXI, LLC; 3. Debtor’s Disclosure Statement in Support of Plan of Liquidation; and 4. Debtor’s

Motion to Sell Assets Free and Clear of Liens, Claims, and Encumbrances, which resulted in the entry of

a Final Omnibus Order that was entered on October 20, 2005 in the above-captioned proceeding. In

support of these Motions, the Debtor has filed its Brief and its proposed amendments to the findings of

fact contemporaneously herewith and incorporated herein for all purposes.




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       Wherefore, premises considered, the Debtor respectfully request that this Court (1) set aside the

Final Omnibus Order; (2) grant Debtor’s Objection to Claims of Atlantic XIII, LLC, Atlantic Midwest,

LLC, David M. Clapper, Atlantic Limited Partnership XIII, Regional Properties, Limited Partnership

and Atlantic XXXI, LLC; (3) grant Debtor’s Disclosure Statement in Support of Plan of Liquidation; (4)

grant Debtor’s Motion to Sell Assets Free and Clear of Liens, Claims, and Encumbrances; (5) amend the

Court’s findings in accordance with Debtor’s request; and (6) grant the Debtor such other and further

relief to which the Debtor may show itself entitled.

                                             Respectfully submitted,

                                             /s/M.BRUCE PEELE
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                              CERTIFICATE OF SERVICE

      I hereby certify that service of the forgoing Pleading was this 31st day of October 2005
was made electronically to:

       Jeff P. Prostok
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                                                  /s/_M. BRUCE PEELE ____
                                                  M. Bruce Peele




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